         Supreme Judicial Court for the Commonwealth   Full Court: SJC-13663   Filed: 10/23/2024 12:10 PM
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                      COMMONWEALTH OF MASSACHUSETTS
                          SUPREME JUDICIAL COURT

Suffolk, ss.                                                                             No. SJC-13663


                                        COMMONWEALTH,
                                            Appellee

                                                        v.

                                           KAREN READ,
                                         Defendant-Appellant.


        On Appeal from Reservation and Report of G.L. c. 211, § 3 Petition



                 REPLY BRIEF OF APPELLANT KAREN READ


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                                 INTRODUCTION

      Ms. Read’s motion to dismiss is predicated upon post-trial statements of five

jurors (four directly and one indirectly) that the jury reached a final, unanimous

decision to acquit her of second-degree murder. In the usual course, that verdict

would have been announced in open court, and re-prosecution for that charge

would be constitutionally prohibited. Here, however, the trial court failed to

inquire, pursuant to Mass. R. Crim. P. 27(b), regarding the existence of any partial

verdicts, and, for that reason, the jury acquittal was not announced.

      The Commonwealth’s argument that this Court should defer to the trial

judge regarding the necessity of a mistrial seeks to inappropriately bypass the clear

prerequisites that have been in place for almost four decades: that before the

declaration of a mistrial: “(1) counsel must be given full opportunity to be heard

and (2) the trial judge must give careful consideration to alternatives to a mistrial.”

Commonwealth v. Steward, 396 Mass. 76, 79 (1985); see Commonwealth v.

Taylor, 486 Mass. 469, 484 (2020) (referring to these two considerations as

“principles guid[ing] our review”). Here, there is no indication that the court gave

any consideration to alternatives, most notably inquiry regarding partial verdicts.

And counsel was not given a full opportunity to be heard. The court never asked

for counsel’s views, or even mentioned the word “mistrial,” before sua sponte

declaring one in open court. The Commonwealth’s attempt to shift blame for


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these omissions to Ms. Read and her counsel utterly neglects the blackletter law

that the Commonwealth, as the party seeking retrial, bears the exclusive burden of

establishing manifest necessity.

      The defense independently maintains that a jury’s final, unanimous

agreement that Ms. Read is not guilty constitutes an acquittal for Double Jeopardy

purposes, and that the trustworthy and uncontradicted post-trial affidavits entitle

her to a judicial inquiry on this issue. There is no precedent for the

Commonwealth’s contention that the lack of formal announcement alone can

overcome the defendant’s fundamental right not to be tried a second time for a

murder that a jury already determined she did not commit.

                                    ARGUMENT

I.    The Commonwealth Did Not Satisfy Its Burden of Establishing
      Manifest Necessity

      As noted in Ms. Read’s opening brief, “[t]his Court review[s] determinations

regarding double jeopardy de novo.” Def. Br. 21 (quoting Taylor, 486 Mass. at

477). While the Court has sometimes reviewed “determination[s] regarding

manifest necessity for … abuse of discretion,” such “[a]ppellate deference will be

accorded … only if the record reflects that the trial judge gave reasoned

consideration to the various available alternatives.” Taylor, 486 Mass. at 484-85

(citation omitted); see Arizona v. Washington, 434 U.S. 497, 510 n.28 (1978) (“If

the record reveals that the trial judge has failed to exercise the ‘sound discretion’
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entrusted to him, the reason for … deference by an appellate court disappears.”).

Here, it is not “clear from the record that the judge” gave “careful consideration to

the available alternatives and to the defendant’s interest in having the trial

concluded in a single proceeding,” and accordingly the abuse of discretion

standard does not apply. Steward, 396 Mass. at 79 (citation omitted).

      The Commonwealth’s heavy reliance upon purported discretion, without

acknowledging the foregoing principles, represents an attempt to bypass the two

guideposts that have governed this Court’s manifest necessity jurisprudence for

nearly 40 years: “(1) counsel must be given full opportunity to be heard and (2) the

trial judge must give careful consideration to alternatives to a mistrial.” Steward,

396 Mass. at 79. Contrary to the Commonwealth’s suggestion, resolution of these

issues does not depend upon any “credibility determination[].” Commonwealth Br.

37. Rather, the Court must simply determine whether the record in this case

satisfies the applicable standard as construed by its precedents.

      Nothing in the Commonwealth Brief justifies the trial court’s failure to

consider the alternative of inquiring regarding the existence of any partial verdicts,

pursuant to Rule 27(b). While the timing of whether to accept a partial verdict is

ordinarily discretionary, Rule 27(b) requires the trial court to accept such partial

verdicts before declaring a mistrial. See Mass. R. Crim. P. 27, reporter’s notes

(“This rule … provides that the court may declare a mistrial in cases where the jury


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is unable to reach a verdict. However, it must first receive and record the verdicts

which the jury can agree upon.” (emphasis added)).

      None of the cases cited by the Commonwealth is to the contrary. In two of

those cases, the jury expressly indicated it was deadlocked on all counts. See

Fuentes v. Commonwealth, 448 Mass. 1017, 1018 (2007) (note “stated that the jury

could not reach a unanimous verdict as to either” of two indictments); Daniels v.

Commonwealth, 441 Mass. 1017, 1017 (2004) (jury said, “[f]urther deliberation

will not yield a unanimous verdict on any indictments,” and defense counsel

having been provided an opportunity to respond, agreed that the jury was at an

impasse on all indictments, and said he had no objection to mistrial). In these

circumstances, inquiry regarding partial verdicts is (understandably) not required.

But here the jury never specified (or was asked to specify) on which counts it had

reached an impasse nor had counsel consented as in Daniels to a mistrial. Blueford

v. Arkansas, 566 U.S. 599 (2012), is also readily distinguishable. There, state law

prohibited a partial acquittal for offenses included within a single charge. See id.

at 610. Here, in contrast, it is clear that “rule 27(b) permits taking verdicts on less

than all of the charges set forth in … separate indictments.” Commonwealth v.

Roth, 437 Mass. 777, 788 (2002). Roth and A Juvenile, like Blueford, involved

lesser included offenses within a single count, and are thus inapposite as to




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whether the court should have considered the possibility of partial verdicts on

separate counts under Rule 27(b). See Def. Br. 46-47.

      As set forth above, because the record reflects no consideration of

alternatives to a mistrial, this Court should not defer to the trial court’s

construction of the jury notes. In any event, the notes were readily susceptible to a

reading consistent with the post-trial juror statements. See Def. Br. 45-46. The

first note, stating that the jury was “unable to reach a unanimous verdict” (R.250),

did not preclude the existence of final, unanimous agreement on some but not all

counts particularly in the context of the court’s prior instruction to “continue

deliberating until you have reached a final verdict on each charge.” (R.190)

(emphasis added). The Commonwealth states that the defense’s reading of the

notes “is not the more natural and straightforward,” but it does not explain why the

defendant’s alternative (and in retrospect correct) reading is not a reasonable

alternative that the court completely failed to consider. Commonwealth Br. 49.

      The Commonwealth cites no authority for its contention that it is necessarily

coercive for a court to inquire regarding the possibility of partial verdicts on

separate indictments. Indeed, the caselaw holds that such inquiry is not coercive.

See Commonwealth v. Foster, 411 Mass. 762, 766 (1992); Commonwealth v.

LaFontaine, 32 Mass. App. Ct. 529, 534-35 (1992). The Commonwealth claims

Foster and LaFontaine are “inapposite because neither of those juries reported


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being deadlocked.” Commonwealth Br. 31 n.6. But Roth cited both those cases, in

the context of a deadlock, for the proposition that partial verdicts are permissible

when there are separate indictments rather than a single indictment. See 437 Mass.

at 788; Commonwealth v. Floyd P., 415 Mass. 826, 829-31 (1993) (acknowledging

authority to accept partial verdicts from jury deadlocked on one but not all counts).

      The trial court’s failure to consider inquiry regarding partial verdicts cannot

be excused based on speculation that defense counsel may have objected to such

inquiry when, in fact, defense counsel never did. The court could and should have

raised the issue with the parties and considered their respective views. This is

precisely what the two-pronged Steward/Taylor test requires. Defense counsel’s

earlier argument regarding the propriety of the Count 2 verdict form, which the

trial court ultimately agreed with (R.216-21), did not excuse the judge from

complying with this Court’s manifest necessity jurisprudence.

      Another alternative to a mistrial was to poll the jury. See ACLU Br. 17-20.

The record reflects no consideration of that alternative either.

      The Commonwealth follows the trial court’s lead in utterly failing to

acknowledge the clear and longstanding caselaw placing the burden of establishing

manifest necessity squarely and exclusively on the Commonwealth, the party

seeking retrial. See Def. Br. 35, 38-40. Indeed, the Commonwealth Brief fails to

so much as mention the applicable burden, or to cite Commonwealth v. Nicoll, 452


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Mass. 816 (2008), which the defense brief discussed at length on this issue. The

trial court’s misallocation of the burden constitutes legal error requiring reversal.

       The record is similarly lacking on the second Steward/Taylor requirement,

the opportunity to be heard. The Commonwealth does not dispute, because it

cannot, that the trial court never asked counsel for their views regarding a mistrial.

In fact, the first time the word “mistrial” appears in the record is when it was

declared in open court. (R.268). The court’s sua sponte action, in these

circumstances, was aptly described as “sudden, brief, and unexpected, neither

preceded nor accompanied by discussion with counsel.” Def. Br. 36 (quoting

Commonwealth v. Horrigan, 41 Mass. App. Ct. 337, 341 (1996)). The

Commonwealth cites no comparable case finding the requirement of an

opportunity to be heard satisfied.

      Video footage1 reinforces the suddenness of the court’s action and

corresponding lack of any meaningful opportunity to be heard. At the

approximately 5:47:25 mark of the video, the court took the bench and stated,

“[t]he jury is at an impasse.” At approximately 5:47:55, a mere 30 seconds later,

the jury arrived in the courtroom. The court then read the note, which had not

previously been provided or read to counsel, on the record. At 5:49:23, the court



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 https://www.youtube.com/watch?v=0An5qcRINe8&list=PLGE3I9evF9H_XqVRt
8WzVmdICluMirtCg&t=7s
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stated it was declaring a mistrial and immediately discharged the jury at 5:49:30, a

mere seven seconds later. To suggest that counsel must have lodged an objection

within this brief interval or that counsel had any, much less a full, opportunity to

take a position or even communicate with their client “underestimates or ignores

the difficulty of reaching a decision (in which the defendant has an evident

personal stake) whether the defense would be advantaged or the opposite by a

second trial.” Horrigan, 41 Mass. App. Ct. at 342.

      Legal and factual context renders the trial court’s action even more

unexpected. Legally, trial counsel was entitled to rely on decades of caselaw

expressly requiring a “full opportunity to be heard” before declaration of a mistrial.

Steward, 396 Mass. at 79. Factually, in response to multiple prior jury notes in this

case, the trial court had advised counsel of the contents and afforded them time

first to consider and then be heard regarding any issues raised. (R.250-51, 261-62).

The trial court’s deviation from that well-known and accepted practice with respect

to the final note was, indeed, sudden and unexpected.

      The Court should reject the Commonwealth’s attempt to conflate a request

for a Tuey-Rodriguez charge with a request for a mistrial. As the Commonwealth

acknowledges, a Tuey-Rodriguez charge is designed to “encourage[] a jury to

consider seriously and with an open mind the views and arguments of each

member,” with the ultimate goal of reaching a verdict. Commonwealth Br. 26 n.5


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(quoting Ray v. Commonwealth, 463 Mass. 1, 5-6 (2012)). Importantly, a Tuey-

Rodriguez instruction is not a necessary prerequisite for a mistrial. See Ray, 463

Mass. at 6. If the defense wanted a mistrial, it could have simply requested one

(which it undisputedly never did). Counsel was not required to affirmatively

“exhibit[]” any “curiosity … about the extent of the jury’s deadlock” until that

deadlock had been firmly established. Commonwealth Br. 33. It was at that point,

before declaring a mistrial, that the court was required to “receive and record the

verdicts which the jury c[ould] agree upon.” Mass. R. Crim. P. 27, reporter’s

notes.

         G.L. c. 234A, § 68C provides that, if the jury reports an impasse after a

Tuey-Rodriguez instruction, they “shall not be sent out again without their own

consent.” G.L. c. 234A, § 68C. The Commonwealth does not explain how this

statute would, in any respect, impact the court’s ability to simply ask the jury

whether it had reached any partial verdicts. Moreover, as explained in Ms. Read’s

opening brief, the court could have alternatively “(a) inform[ed] the jury that it

could not be required to continue deliberations without its consent and [still] (b)

ask[ed] it to retire to consider whether it was prepared to return any partial

verdict.” Def. Br. 42-43 (citing Commonwealth v. Jenkins, 416 Mass. 736, 739-40

(1994)). The Commonwealth does not respond to the defense argument on this

point.


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      The Commonwealth cites no authority for its suggestion that an opportunity

to be heard after the jury had been discharged is somehow sufficient to support

manifest necessity. Fuentes suggests such after-the-fact opportunity is not

sufficient. See 448 Mass. at 1018-19 (observing that “the more prudent course

would have been to consult with counsel” before declaring mistrial,

notwithstanding that court gave the parties an opportunity to be heard “[a]fter the

jury were dismissed”).

      The Commonwealth’s contention that Ms. Read consented to the mistrial is

based on the unsupported assertion that “defense counsel consistently sought a

mistrial.” Commonwealth Br. 38. It bears repeating that neither Ms. Read nor her

counsel ever requested a mistrial. Instead, by requesting a Tuey-Rodriguez charge,

counsel indicated that they wanted the jury to be instructed to try to reach a verdict

rather than consenting to the ordeal and risks of a second trial.

      The defense argued that Ms. Read’s personal consent was required at the

Superior Court hearing on her motion to dismiss. Counsel stated that, after the

final jury note, “there was … no opportunity for [trial counsel] to speak to Ms.

Read, after all, it’s her rights, not just theirs.” (R.354-55). The defense contends

that this was sufficient to preserve the argument that Ms. Read’s personal consent

was required. At the very least, it was sufficient to preserve the contention that “an

opportunity to be heard must, in order to be meaningful, occur after a reasonable


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opportunity for counsel to consult with their client,” Def. Br. 36, and the

Commonwealth does not suggest otherwise.

II.    The Jury’s Unanimous Conclusion Following Trial that Ms. Read Is Not
       Guilty on Counts 1 and 3 Constitutes an Acquittal and Precludes Re-
       Prosecution

       For more than a century, binding caselaw has warned against the exaltation

of form over substance in determining what constitutes an acquittal for Double

Jeopardy purposes. See Ball v. United States, 163 U.S. 662, 671 (1896) (“However

it may be in England, in this country a verdict of acquittal, although not followed

by any judgment, is a bar to a subsequent prosecution for the same offense.”).

While many of these cases have arisen in the context of judicial acquittals, the

Commonwealth does not explain why form should outweigh substance with

respect to jury acquittals. See Roth, 437 Mass. at 796 (rejecting Commonwealth

argument that “would elevate form over substance”). Indeed, “the Double

Jeopardy Clause … prohibits reexamination of a court decreed acquittal to the

same extent it prohibits reexamination of an acquittal by jury verdict.” Smith v.

Massachusetts, 543 U.S. 462, 467 (2005). The Supreme Court has, for example,

“consistently refused to rule that jeopardy for an offense continues after an

acquittal, whether that acquittal is express or implied by a conviction on a lesser

included offense ….” Price v. Georgia, 398 U.S. 323, 329 (1970) (emphasis

added); see Green v. United States, 355 U.S. 184, 190 (1957) (similar).


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      Despite the defense repeatedly pointing out the absence of contrary

authority, the Commonwealth still cites no “case in which a defendant was forced

to stand trial a second time for an offense a previous jury had found her not guilty

of simply because [a] final, unanimous agreement was not announced in open

court.” Def. Br. 26; see United States v. Dotson, 817 F.2d 1127, 1129 (5th Cir.

1987) (affirming correction of verdict on one count after “receiv[ing] a telephone

call from two of the jurors … stat[ing] that, contrary to the verdict read in court,

the jury had unanimously voted to acquit”), vacated in part on other grounds;

United States v. Stauffer, 922 F.2d 508, 511 (9th Cir. 1990) (affirming changing

verdict on count where “[p]ost-verdict interviews of several jurors … determined

that the jury had … intended to acquit”). Blueford and A Juvenile both turned on

lack of finality, not form. See Def. Br. 25; Blueford, 566 U.S. at 608 (“[T]he

foreperson’s report prior to the end of deliberations lacked the finality necessary to

amount to an acquittal … , quite apart from any requirement that a formal verdict

be returned or judgment entered.”).

      There is no serious question here regarding finality. The affidavits, all based

on post-trial statements, reflect a clear and unambiguous decision that Ms. Read is

not guilty. This is not a case like Blueford where the jury continued deliberations

after allegedly reaching a verdict. See 566 U.S. at 606. And there is simply

nothing tentative or conditional about the jurors’ post-trial statements. See (R.283)


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(Juror B texting, “It was not guilty on second degree…. No one thought she hit

him on purpose or even [knew that she had hit him]”); (R.284) (Intermediary C

relaying Juror C’s statement that there was “no consideration for murder 2”);

(R.287) (“Juror A told me that the result of the deliberations was that the jury

unanimously agreed that Karen Read is NOT GUILTY of Count 1 (second degree

murder). Juror A was emphatic that Count 1 … was ‘off the table,’ and that all 12

of the jurors were in agreement that she was NOT GUILTY of such crime.”);

(R.293) (“Juror D explained that the jury reached NOT GUILTY verdicts on Count

1 and Count 3 …. Juror D, without hesitation, said in substance, Every one of us

will agree and acknowledge that we found [Karen Read] NOT GUILTY of Counts

1 and 3. Because that’s what happened.”); (R.323) (“Juror E stated that he/she

decided to contact me to provide information about the results of the jury’s

decision-making following deliberations…. Juror E explained that the jury was

‘unanimous on 1 and 3’ that Karen Read was NOT GUILTY of those charges.”).

The foregoing was corroborated by two voicemails received by the prosecutor

stating, “it is true what has come out recently about the jury being unanimous on

charges 1 and 3.” (R.325). One juror expressly stated that the agreement persisted

after the jury was discharged. See (R.293) (“Juror D explained that after the jury

was excused and aboard the bus, many of the jurors appeared uncomfortable with

how things ended, wondering, Is anyone going [to] know that we acquitted [Karen


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Read] on Count 1 and 3?”). In these circumstances, the Commonwealth’s

unsupported suggestion that jurors may have changed their minds is purely

hypothetical. See Commonwealth Br. 41-42. The post-trial affidavits are more

than sufficient to entitle the defense to an evidentiary hearing. See infra.

III.    The Defense Is Entitled to a Judicial Inquiry to Determine Whether the
        Evidence Supports the Juror Representations as to Having Acquitted
        Ms. Read

        The Commonwealth, in opposing the defense request for a post-verdict

judicial inquiry to substantiate the acquittals, takes a striking position. Under the

Commonwealth’s logic, no defendant claiming that the jury acquitted her but failed

to announce that verdict would be entitled to further inquiry, no matter how clear

and well-supported her claim. In other words, even if all 12 jurors submitted

affidavits saying they unanimously and finally agreed to acquit the defendant, their

failure to announce that verdict (and the trial court’s failure to follow Rule 27(b))

would take precedence over the defendant’s fundamental constitutional protection

against Double Jeopardy.

        The Commonwealth’s position is not required by any precedent of this Court

and is insufficiently protective of defendants’ rights. The Court should reject this

“inflexible rule” as “achiev[ing] stability at the expense of doing justice between

the parties.” Commonwealth v. Fidler, 377 Mass. 192, 197 (1979). As noted in the

defense opening brief, this Court and others have permitted post-verdict inquiry


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regarding claims of extraneous influence and juror bias. See Def. Br. 28-32;

ACLU Br. 20-22 (citing other examples).

      In United States v. Tsarnaev, 96 F.4th 441, 458 (1st Cir. 2024) (citation

omitted), for example, the First Circuit Court of Appeals held that, because “[t]he

right to an impartial jury is a constitutional bedrock,” the defendant’s “plausible

claim of juror misconduct” required the district court to question the relevant

jurors. The First Circuit remanded the case, about nine years after trial, for the

district court to conduct voir dire. While the present case raises a Fifth

Amendment Double Jeopardy claim rather than a Sixth Amendment issue, the

defendant’s rights under that provision are no less fundamental. See Martin v.

Mississippi, 732 So. 2d 847, 849-50 (Miss. 1998) (remanding for hearing where,

15 days after verdict, defense counsel was contacted by jurors stating “that they

had not intended to find [defendant] guilty of” offense). And the defense affidavits

certainly support a “plausible claim” of a Double Jeopardy violation.

      In Remmer v. United States, 347 U.S. 227 (1954), the United States Supreme

Court held that the defendant was entitled to post-verdict inquiry regarding the

FBI’s unauthorized contact with jurors. Much like in the context of juror bias or

untruthfulness, see Commonwealth v. McCalop, 485 Mass. 790 (2020), courts

regularly follow Remmer and hold post-verdict inquiries when there is a reasonable

basis to support a claim of external influence. See Commonwealth v. Dixon, 395


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Mass. 149, 150 (1985) (holding inquiry was required where counsel was told by

someone purporting to be a juror “that a female juror’s husband had some

conversations with some of the witnesses in this case during the course of trial and

these conversations were made known to said female juror”); Commonwealth v.

Guisti, 434 Mass. 245, 249-50 (2001) (juror “posted a message on an internet mail

service” “stating that she was ‘stuck in a 7 day-long Jury Duty rape/assault case ….

Just say he’s guilty and lets [sic] get on with our lives!’” and it was unclear to what

extent juror received responses); Fidler, 377 Mass. at 199 (juror affidavit “alleged

that one juror stated [defendant] had been shot at in Charlestown a month earlier,”

which had not been mentioned in court); Commonwealth v. Philyaw, 55 Mass.

App. Ct. 730, 736 (2002) (ordering evidentiary hearing where, more than two years

after sentencing, witness affidavit stated that juror told him two other jurors “had

gone to the scene” and “reported back to the jury”). In fact, this Court has

instructed, “[w]here a case is close, … a judge should exercise discretion in favor

of conducting a judicial inquiry.” Dixon, 395 Mass. 153 (emphasis added). In

sum, courts have found an entitlement to post-trial voir dire on far less compelling

showings than the consensus of four jurors that they reached a final, unanimous

verdict of not guilty.

      As the defense has previously argued, the relevant inquiry here “could be

accomplished by a single ‘yes’ or ‘no’ question posed to jurors: did you


                                          21
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unanimously acquit Karen Read of the charges in Counts 1 and 3?”2 Def. Br. 32.

The Commonwealth asserts that such inquiry “would necessarily entail proscribed

inquiry into deliberations,” but it provides no convincing explanation as to why.

Commonwealth Br. 48-49. It has long been clear that post-trial juror statements

are admissible to correct a mistaken verdict. In that context, as here, “[t]he error

consisted, not in making up the[] verdict on wrong principles … , but in an

omission to state correctly in writing the verdict to which they had, by a due and

regular course of proceeding, honestly and fairly arrived…. No considerations of

public policy require that the uncontradicted testimony of jurors to establish an

error of this nature should be excluded.” Capen v. Inhabitants of Stoughton, 82

Mass. 364, 367-68 (1860); see Commonwealth v. Spann, 383 Mass. 142, 151

(1981) (poll “did not intrude into the deliberative processes of the jury”); Dotson,

817 F.2d at 1130 (“It has long been well settled that the affidavit of a juror is

admissible to show the true verdict ….” (citation omitted)); Malpica-Cue v.

Fangmeier, 395 P.3d 1234, 1238 n.2 (Colo. App. 2017) (“[J]urors may testify

regarding the verdict to which the jury actually agreed.” (citing cases)).

      The Commonwealth’s focus on a few purported inconsistencies among the

juror statements overlooks the overarching consistency: that the jury unanimously



2
  If it believed necessary, the court could add another question regarding whether
that determination was final.
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acquitted Ms. Read of two of the three counts pending against her, including the

count alleging second-degree murder. The largely peripheral inconsistencies cited

by the Commonwealth simply pale in comparison and are irrelevant to the Double

Jeopardy issue. See, e.g., Commonwealth Br. 50 n.12 (noting that one juror

relayed the final vote on Count 2 as 8-4, whereas another reported it was 9-3). All

four jurors who directly contacted defense counsel expressly stated unanimous and

unconditional agreement on Counts 1 and 3. See (R.287) (Juror A); (R.293) (Juror

D); R.323 (Juror E); R.330 (Juror B). The Commonwealth received the same

information via voicemails from one juror. (R.325). To the extent the

Commonwealth or the Court perceive any ambiguity, it would be readily resolved

by the narrow judicial inquiry proposed herein. The defendant has clearly met her

burden of production and a post-trial voir dire is required.

      Finally, the Commonwealth’s proffered concerns regarding jurors being

required to give testimony simply cannot justify permitting Ms. Read to be retried

for a murder that a jury has already acquitted her of. To be clear, the defense is not

seeking to have the jurors identified (and it did not oppose the request to impound

the juror list). There are a number of protective measures that could be considered

by the Superior Court, including holding an impounded hearing (at which Ms.

Read is prepared to waive any right to a public proceeding) or a hearing at which

cameras are excluded.


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      The defense, however, submits that Ms. Read’s rights must also be

protected. The defense has received information from five deliberating jurors (four

of them directly) that the jury reached a final, unanimous decision to acquit Ms.

Read of murder. This is a situation in which “the law’s commitment to a just result

warrants receiving evidence.” Fidler, 377 Mass. at 198. Ms. Read’s rights are not

less worthy of protection simply because her case has received more publicity than

others. Rather, the trial court should be required to allow her an opportunity to

substantiate her constitutional claim, while protecting jurors’ anonymity to the

maximum extent possible in that process.

                                  CONCLUSION

      For the foregoing reasons, and those set forth in her opening brief, Ms. Read

respectfully requests that this Honorable Court reverse the trial court and Order

Counts 1 and 3 dismissed.



                                              Respectfully Submitted,
                                              For the Appellant,
                                              Karen Read
                                              By her attorneys,


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                                         24
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Dated:     October 23, 2024




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                               ADDENDUM

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                        COMMONWEALTH OF MASSACHUSETTS

NORFOLK, ss.                                                           SUPERIOR COURT , ,
                                                                       CRIMINAL ACTION'
                                                                       22-00117
                                                                                                                      ''
                                                                                                                      i:
                                      COMMONWEALTH



                                          KAREN READ
                                                                                                                      I
                                                                                                              l'
                       MEMORANDUM OF DECISION AND ORDER ON
                          DEFENDANT'S MOTION TO DISMISS

       On June 9, 2022, a Norfolk County grand jury indicted defendant Karen Read on cl:\arges !
                                                                                                             '•
                                                                                                                      I:
of murder in the second degree (Indictment 1 ), manslaughter while operating under the influence .

of alcohol (Indictment 2), and leaving the scene of personal injury and death (Indictment 3),

following the death of her boyfriend, John O'Keefe, on January 29, 2022. Trial on the mati:er
                                                                                                                      I.
                                                                                                                  ,   I:
began in April 2024. There were eight weeks of evidence and nearly five days of deliberations. I !
                                                                                                              :·      :I
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After the jurors expressed to the Court that they were deadlocked for a third time, the Courr
                                                                                                              '           I



                                                                                                              ,       j:
                                                                                                                      I
declared a mistrial.
                                                                                                                      \.
        The defendant now moves to dismiss the charges for murder in the second degree ��d

leaving the scene of personal injury and death arguing that retrial would violate the double, :
                                                                                                                      I   I

                                                                                                                          I
jeopardy protections of the federal and state constitutions becaus_e the jury, in fact, reached: a                        I
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unanimous decision to acquit the defendant on those charges. Alternatively, the defendant: •
                                                                                                                          I



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argues that dismissal is required because there was no manifest necessity to support the

declaration of the mistrial with respect to those charges. After careful consideration, this Court
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concludes that because the defendant was not acquitted of any charges and, qefense counsel.         l
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consented to the Court's declaration of a mistrial, double jeopardy is ��{�pli:t�lJd.:bi.tetr'i�l 0£;
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the defendant. The motion is therefore DENIED.
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                                       BACKGROUND                                                  I:
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        On June 25, 2024, the jury began its deliberations in the defendant's trial. In additivn to! i
                                                                                                                    l        I



the three indictments, the Court had instructed the jury to consider two lesser included offenses i
                                                                                                                    I,



                                                                                                                    ii
to manslaughter while operating under the influence of alcohol - involuntary manslaughter 'and !

motor vehicle homicide (QUI liquor and negligence).                                               :•
                                                                                                  i!
        On Friday, June 28, 2024, at approximately 12: IO p.m., the jury foreperson sent a riote tJ                I
                                                                                                                                 f

                                                                                                                   I:



the Court. It stated: "I am writing to inform you on behalf of the jury that despite our exha1.1stiv1� •
                                                                                                                        I




review of the evidence and our diligent consideration of all disputed evidence, we have bee�
                                                                                                                        ; :
                                                                                                                        I,
unable to reach a unanimous verdict." The Court requested argument from the Commonwe_alth ; .
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and the defendant as to whether there had been due and thorough deliberation from the jllf)\•.                          \'
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Assistant District Attorney Lally, on behalf of the Commonwealth, argued that the jury hadl '.not \
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had sufficient time to deliberate and that therefore, it was far too early in the deliberative process
                                                                                                ,
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to give the jury the Tuey-Rodriguiez instruction. 1 He al�o pointed out that although the not:e                         /:
                                                                                                              :         I;
indicated that the jury had not yet come to a conclusion, it did not indicate that doing so wa.� not!
                                                                                              :
                                                                                                                                     J

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possible. Attorney Yannetti, on behalf of the defendant, "disagree[d] with Mr. Lally's
                                                                                                                        II
                                                                                                                            I,




characterization of the note." He argued:

                 "The word exhaustive is the word that I think is operative here. [The                                      I,
                 jury is] communicating to the court that they've exhausted all
                                                                                                                            I,
                                                                                                                            Ii
                 manner of compromise, all manner of persuasion and they're at an                                           1I'
                 impasse. You know, this is a case where they jury has the legal
                 instructions. They've only really asked one question, which was to
                 try and get a report they were not allowed to get, and I think the
                 message has been received that the evidence is closed and they
                                                                                                                            I.

                 won't get anything more. They've been essentially working nonstop

1 The use of the Tuey-Rodriguiez instruction is a matter of discretion of the trial judge. Commonwealth v. P�•rreira'.;
72 Mass. App. Ct. 308, 316 (2008). It is the "orthodox approach to dealing with a deadlocked jury" see
Commonwealth v. Firmin, 89 Mass. App. Ct. 62, 64 (2016) (citation omitted), and "designed to urge the jury to
reach a verdict by giving more serious consideration to opposing points of view." Commonwealth v. Semedo.. 456
Mass. 1, 20 (2010).


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                                                                                                    I
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                over the last three, four days. We're approaching a weekend. They
                didn't come back with this at three o'clock or four o'clock. They're
              • at twelve o'clock and they have nowhere to turn. So our position is
                the jury should be read the Tuey-Rodriguez model instructions and
                go from there."
                                                                                                    I
                                                                                                    I



The Court ruled that given the length of the trial, the number of exhibits and witnesses, the: •
                                                                                                    I        ,



complexity of the issues, and that the jury had only been deliberating for three days,

deliberations had not been sufficiently due and thorough to warrant a Tuey-Rodriguiez

instruction. It instructed the jury to continue deliberating.

       On Monday, July 1, 2024, at approximately 10:45 a.m., the jury sent another note fo, this;

Court. This note stated:

               "Despite our commitment to the duty entrusted in us, we find
               ourselves deeply divided by fundamental differences in our opinions
               and state of mind. The divergence in our views are not rooted in a
               lack of understanding or effort but deeply held convictions that each                    I
               of us carry, ultimately leading to a point where consensus is                   ,.
                                                                                                        I
                                                                                                        I,
               unattainable. We recognize the weight of this admission; and the
                                                                                                        I·i'
                                                                                                        I

               implications it holds."

The Court again requested argumentfroni-counsel as to whether there had been due and
                                                                                            i
thorough deliberatiqns. The Commonwealth argued that the jury had been deliberating twenty- i
                                                                                                        'I
two to twenty-three hours but given the length of trial, number of exhibits and witnesses, and
                                                                                                        '        '
                                                                                                        \.


complexity of issues, they had not done a thorough deliberation up to this point. Attorney

Yannetti, again, had a vastly different view. He argued:

                "Our view is that it is time for a Tuey-Rodriguez [instruction]. They
                have come back twice indicating essentially that they're hopelessly
                deadlocked but the content of this latest message is that they have
                been over all the evidence. The previous message said they did an
                exhaustive review. This time they said that . . . they have                                 i'
                fundamental disagreements about what the evidence means. It's a                             I,
                                                                                                            I,
                matter of opinion. It's not a matter of lack of understanding. This
                court when you sent the jury out encouraged them not to take a straw
                vote, encouraged them to go over all the evidence in a very


                                                   3
                                                   29
                                                                                                                          I.
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                                                                                                                          '           '
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                                                                                                                          I.




                   methodical manner. I think all indications are that they have done
                                                                                                                          l.I,
                   that. This is what Tuey-Rodriguez is for."                                                             : '
                                                                                                                          : :


The Court agreed that the jury had engaged in due and thorough deliberations, noting that this
                                                                                                                   1,
jury had been "extraordinary" and it had never seen a note like this from a jury. It thereafa;r

provided the jury of the full Tuey-Rodriguez instruction and asked them to return to the

deliberations with those instructions in mind.2
                                                                                                                          I
         That same day, at approximately 2:30 p.m., the jury sent another note to the Court.: The:                        1,              '
                                                                                                                    '
                                                                                                                          I,
                                                                                                                          \
Court stated to counsel that the jury was at an impasse. After the jurors filed into the co�oom� •
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the Court read the note:

                                                                                                                              I
                                                                                                                              I           ,



                   "Despite our rigorous efforts we continue to find ourselves at an
                                                                                                                              I




                   impasse. Our perspectives on the evidence are starkly divided.
                   Some members of the jury firmly believe that the evidence surpasses                                    I.
                   the burden ofproof establishing the elements of the charges beyond                                     l:
                   a reasonable doubt. Conversely, others find the evidence fails to                                          I.
                   meet this standard and does not sufficiently establish the necessary
                   elements of the charges. The deep division is not due to lack of
                   effort or diligence, but rather a sincere adherence to our individual
                                                                                                                              I.
                                                                                                                              I
                   principles and moral convictions. To continue to deliberate would
                                                                                                                           !
                                                                                                                          ·1'

                                                                                                                                  I
2 The Tuey-Rodriguez instruction states: "Our Constitution and laws.provide that in a criminal case, the princ,ipal      i
method for deciding questions of fact is the verdict of a jury. In most cases and perhaps strictly speaking in a.ll cas�s'
absolute certainly cannot be obtained nor is it expected. The verdict to which each juror agrees must of course be                !.
his or her own verdict, the result of his or her own convictions, and not merely an acquiescence in the conclusions di
other jurors. Still, in order to bring twelve minds to a unanimous result, you must examine the issues you have to 1 ·
decide with candor and with the proper regard and respect for each other's opinions. You should consider th�t,t it is
desirable that this case be decided. You have been selected in the same manner and from the same source as pny I :
future jury would be selected. There is no reason to suppose that this case will ever be submitted to twelve persons '
who are more intelligent, more impartial, or more competent to decide it than you are or that more or clearer '. ,
evidence will be produced at another trial. With all this in mind it is your duty to decide this case if you can d,'? so
conscientiously. In order to make a decision more attainable, the law always imposes the burden of proof on 'the
Commonwealth to establish every essential element of each indictment beyond a reasonable doubt. If you are, left
with a reasonable doubt as to any essential element of any indictment, then the defendant is entitled to the be1,1efit of·
that doubt and must be found 'notguilty' on that indictment. In conferring together, you are to give proper r�spect / ,
to each other's opinions, and listen with an open mind to each other's arguments. Where there is disagreeme1�t,
                                                                                                                         1 :
those jurors who would find the defendant 'not guilty' should consider whether the doubt in their minds is a , ,
                                                                                                                          i
reasonable one if it m_akes no impression on the minds of the other jurors who are equally intelligent, who have
                                                                                                                          I '
heard the same evidence with the same attention, who have an equal desire to arrive at tlle truth and who have:tak:en
the same oath as jurors. At the same time, those jurors who would find the defendant 'guilty' ought seriously to ask •
themselves whether they may' not reasonably doubt the correctness of their judgment if it is not shared by other
members of the jury. They should ask themselves whether they should distrust the weight or sufficiency of tl: e
evidence if ithas failed to convince the minds of their fellow jurors beyond a reasonable doubt."

                                                             4

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               be futile and only serve to force us to compromise these deeply held
               beliefs."                                                                           I'
                                                                                                   l

After reading this note, the Court declared a mistrial and discharged the jury back to the
                                                                                                   I




deliberation room to wait for the judge. Counsel remained in the courtroom to discuss an

agreeable date to return for a status conference.
                                                                                                i
       On July 8, 2024, the defendant filed
                                         •
                                            the instant motion to dismiss supported by affidavits'
                                                                                                   I
                                                                                                   I

from Attorney Yannetti and co-counsel, Attorney Jackson. Attorney Jackson's affidavit st�ted
                                                                                                       I

that on July 2, 2024, a juror in the case ("Juror A") contacted him. Attorney Jackson was able to

identify the person as a deliberating juror based on his/her description of who he/she is, where

he/she was seated, and certain identifying information (name and occupation) disclosed during
                                                                                                       !

the voir dire process. According to Attorney Jackson's affidavit, Juror A told him that he/she j
                                                                                                       I •
                                                                                                       I
                                                                                                       I

wished to inform him of the true· results of the deliberations because he/she believed those 'resuHs

significantly impact the defendant's rights. Juror A said the jury unanimously agreed that the � •

defendant was not guilty of Counts 1 and 3 and specifically that the murder charge was "off the

table." First Jackson Affidavit at par. 5.

       In his affidavit, Attorney Jackson also stated: "Neither Ms. Read nor her counsel

consented to the entry of the mistrial. Defense counsel was denied the opportunity to requi�st

that the Court inquire on which count or counts the jury may have been deadlocked (including

lesser included offenses), and on which count or counts the jury may have arrived at a verdict." i

Id. at pars. 9 and 10.

        Attorney Yarinetti's affidavit averred that on July 3, 2024, he received communications ' :

from two "informants" who had received information from two deliberating jurors in the case.

The first informant ("Informant B") sent him a screenshot he/she had received from someone

else ("Intermediary B") of text messages that Intermediary B had purportedly received fror:i a

                                                    5

                                                    31
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juror ("Juror B "). Attorney Yannetti averred that he was able to positively identify whichjurorj ;
                                                                                            ,    I:
was Juror B based on a first name given to him from Informant B. In the screenshot, Juror B ! i

 texted Intermediary B, "It was not guilty on second degree. And split in half for the second                         :,
                                                                                                                      Ii
                                                                         -                                            I:
 charge. When the judge sent us back with that Hernandez thing to look at the other side it turne,d

_ into a bully match. I thought the prosecution didn't prove the case. No one thought she hit him'.
                                                                                                                      i;
                                                                                                                      I.
 on purpose or even thought she hit him on purpose...." Yannetti Affidavit at par. 4.                                 i
                                                                                                                      I -




         Attorney Yannetti stated that another informant ("Informant C") contacted him on July 3,

 2024. Informant Ctold him he or she personally knows a juror ("Juror C") and that Informant C

 and Juror Chave a mutual friend ("Intermediary C") who is a current coworker and friend of

 Juror C. Intermediary Ctold Informant Cvia text message that Juror Cwas a deliberating juror: .

 in the case. Intermediary Chad a discussion over text message with Juror Cabout the
                                                                                                                      I     '



                                                                                                                      !:
                                                                                                                      !1
 experience of being a juror. Intermediary Csaid that Juror Csaid there was "no consideration                               •




 for murder 2. Manslaughter started polling at 6/6 then ended deadlocked [at] 4no8yes..."                             I'
                                                                                                                      ii

 Yannetti Affidavit at par. 10. Informant Ctexted back, "interesting. If there was no                                 f:''
                                                                                                                      I     '




 consideration for murder two, shouldn't she have been acquitted on that count□ and hung on th�

 remaining chargers [sic] goes back to the jury verdict slip that was confusing." 3 Id.                                i:
                                                                                                                       I
                                                                                                                       I

 Intermediary Ctexted, "she should've been acquitted I agree. Yes, the remaining charges were i .

 what they were hung on.And that instruction paper was very confusing." Id.

         Attorney Yannetti stated that based on the description of Juror Che received from

 Informant Cand the description of what Juror Ctold Intermediary C, he could positively identify

 that Juror Cwas a deliberating juror.



 3 As noted below, defense counsel argued to the Court that the verdict slip for Indictment 2, which allowed the

 foreperson to check "guilty" for the lesser included offenses, would be confusing for the jury if they decided the
 defendant was not guilty of all the lesser included offenses.

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                                                                                                          I'

                                                                                                          l:i
                                                                                                          I'



                                                                                                l:I;
       Attorney Yannetti later filed a supplemental affidavit in support of the defendant's ,   11
                                                                                                I\
motion to dismiss wherein he stated that he received an unsolicited phone call from an individru\I
  .                                                                                                       I           I



                                                                                                    ,
                                                                                                            !
• identifying himself/herself as Juror B. Juror B told Attorney Y annetti that he/she was familiar ':
                                                                                                          j




                                                                                              :
                                                                                                          I:

                                                                                                          i:
with the affidavit he had previously filed and confirmed the substance of the conversation                I'

                                                                                             i
between Informant B and Intermediary B. Juror B clarified that he/she meant to write, "N? onej                        !:




thought she hit him on purpose or even knew that she had hit him." Yannetti Supplement�l:                 !   I
                                                                                                                      I




Affidavit at par.4.

        On July 10, 2024, Attorney Jackson submitted a supplemental affidavit stating that :on

July 8, 2024, another juror ("Juror D") contacted him. He identified this person as a juror 1 ;Y th9
                                                                                             ,    '
                                                                                                              I



 description of who he/she is, where he/she was seated, and certain identifying information (nam�j
                                                                                                              I
                                                                                                              i:
                                                                                                                           1



 and occupation) disclosed during the voir dire process. Juror Dtold Attorney Jackson that'

 "he/she was 'uncomfortable' with how the trial ended....Juror Dsaid that it was very trm,iblin�
                                                                                                                  I
                                                                                                                  I

 that the entire case ended without the jury being asked about each count, especially Count 1' and
                                                                                                  i
 Count 3." Jackson Supplemental Affidavit at pars. 3-4. According to Jackson's Supplemental !
                                                              •
                                                                                                      '
                                                                                                                  :
 Affidavit, Juror Dtold him that the jury agreed that the defendant was not guilty on Count�-; 1 an�
                                                                                                    :
                                                                                                   il
 3, that they disagreed solely on Count2's lesser offenses, but that they believed that they were \ :

 compelled to come to a resolution on all counts before they could or should report verdicts :?n
                                                                                                                  i:
                                                                                                                  I'

 any counts. Juror Dbelieved all jurors would corroborate his/her account. He/she also sta1,�d I i
                                                                                                   i
 that if necessary, he/she would testify before the court as long as his/her identity remained , ;

 protected.

         On July 18, 2024, Attorney Jackson submitted a second supplemental affidavit stat(t1g

 that on July 17, 2024, he was contacted by another juror ("Juror E") who he identified by the

 description of who he/she is, where he/she was seated, and certain identifying information (namt�


                                                   7
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                                                                                                   I           I

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and occupation) disclosed during the voir dire process. Juror E also stated that the jury was

unanimous on Counts 1 anq 3, that the defendant was not guilty of those charges,and that they

were deadlocked on one of the "lower charges " on Count 2. Jackson Second Supplemental

Affidavit at par. 5.

        On August 1,2024,the Commonwealth filed a Post-Trial Notice of Disclosure stating

that ADA Lally had received two unsolicited voicemails from an individual identifying

themselves as a deliberating juror stating that the jury had been unanimous on Counts 1 and 3.

The Commonwealth also received emails from three individuals identifying themselves as .jurors·
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stating that they wished to speak anonymously. In its response to the emails, the Commonwealt:h
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stated that it was ethically prohibited from inquiring as to the substance of the jury deliberations?

and that it could not promise confidentiality as it may be required to disclose the substance of I
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any conversation to the defendant or the Court. All three jurors declined to communicate further.:

with the Commonwealth.

                                           DISCUSSION

      • The Fifth Amendment to the United States Constitution, applicable to the States through:
                                                                                               :
the Fourteenth Amendment to the United States Constitution, and Massachusetts common and \ ;

statutory law protect an individual defendant from being twice placed in jeopardy for the same

crime. Perrier v. Commonwealth, 489 Mass. 28, 31 (2022). See Commonwealth v. Taylor, 486::

Mass. 469,483 (2020),quoting Oregon v. Kennedy, 456 U.S. 667, 671--672 (1982) ("[T]h?

[d]ouble [j]eopardy [c]lause affords a criminal defendant a 'valued right to have his trial

completed by a particular tribunal"' [citation omitted]). A defendant is entitled to protection         \'
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from double jeopardy "if there had been some event,such as an acquittal,which terminates·the

original jeopardy," see Commonwealth v. Hebb, 477 Mass. 409,413 (2017), or if a mistrial is


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entered "without the defendant's request or consent ... unless there was a manifest necessity for:
                                                                                                                   I I

the mistrial" (quotation and citations omitted). Taylor, 486 Mass. at 483. See Hebb, 477 Mass.

at 413,quoting Yeager v. United States, 557 U.S. 110,118 (2009) ("The 'interest in giving the : .
                                                                                                                   I,
                                                                                                                   I;
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prosecution one complete opportunity to convict those who have violated its laws' justifies                                '




treating the jury's inability to reach a verdict as a nonevent that does not bar retrial.").

        In her motion to dismiss, the defendant argues that retrial on Indictments 1 and 3 would :
                                                                                                                   '       '




violate the double jeopardy protections of the federal and state constitutions because, despite

absence of a jury verdict, the jury, in fact, reached a unanimous decision to acquit her on those

charges,or alternatively,because there was no manifest necessity to support the declaratioh of

the mistrial with respect to the charges. After careful consideration,the Court concludes that the

defendant's arguments are without merit.

        I.       Acquittal of the Defendant

        The defendant first contends that she was acquitted on Indictments 1 and 3, and that
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therefore retrial is barred based on her attorneys' affidavits purporting to reflect statements by : ,

jurors that the jury reached a unanimous conclusion that she was not guilty on those charges.

Although all the statements in the affidavits are from purported jurors who wish to remain

anonymous,for the purposes of this motion,the Court accepts the statements as true and

accurate.4 Even doing so, any agreement among the jurors as to Counts 1 and 3 cannot be                                I .
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considered acquittals for purposes of double jeopardy.                                                                 I,
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         To trigger double jeopardy protection,"[a]n acquittal requires a verdict on the facts and;

merits" (citations and quotations omitted). Commonwealth v. Brown, 470 Mass. 595,603                                   I       '

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  While the Court accepts the averments as true and accurate, it disagrees with defense counsel's characterization of
the statements as "strong and uncontradicted." The substance of the conversations directly contradicts the nmes the
jury wrote to the Court during deliberations, the last of which expresses disagreement over whether the
Commonwealth met its burden as to the "elements of the charges." (Emphasis added).

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(2015). See G. L.c. 263, § 7 ("A person shall not be held to answer on a second indictmeri� or l:
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complaint for a crime ofwhich he has been acquitted upon the facts and merits .. ."). And, "th�.
                                                                                              '         I           '

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only verdict which can be received and regarded, as a complete and valid verdict ofa jury �, .., i�:
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an open and public verdict ... affirmed in open court, as the unanimous act ofthe jury, and in i;
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presence ofthe whole panel, so that each juror has an opportunity to express his dissent to the : :
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court, in case his decision has been mistaken or misrepresented by the foreman or his fellovvs, oil                 '
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in case he has been forced into acquiescence by improper means" (citations omitted).

Commonwealth v.Zekirias, 443 Mass. 27, 33 (2004). See Mass. R. Crim.P. 27(a) ("The v'erdic:t:
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shall be unanimous.It shall be a general verdict returned by the jury to the judge in open ce:urt.
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The jury shall file a verdict slip with the clerk upon the return ofthe verdict."). As such, "the

weight offinal adjudication" cannot "be given to any jury action that is not returned in a fin,al
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verdict" and a distinction must be made "between agreement on a verdict, and return, receipt,
                                                                                           lI:'.
and recording ofa verdict" (citations omitted). A Juvenile v. Commonwealth, 392 Mass.52, 56{!
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57 (1984).

        Because there was no open and public verdict affirmed in open court rendered in this
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                                                                                                  '             i'
. case, the defendant was not acquitted ofany ofthe charges. The only unanimous act ofthe jury I ;
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 here was their representation to the Court that they were "at an impasse" and unable to agr�� on l
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 whether the Commonwealth had established beyond a reasonable doubt the "elements ofth'e                        \:
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 charges." The purported later attestations by some jurors, after they had been dismissed, thht thl !

 jury had in fact agreed on some ofthe charges during deliberations do not have the "force of a
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 final verdict." Commonwealth v.Floyd P., 415 Mass.826, 831 (1993). See A Juvenile, 39:�                        I ,

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• Mass.at 57 (after mistrial was declared due to deadlock, judge did not err in refusing to accept : .

 signed verdict slips recovered from deliberation room showing "not guilty" because "[i]t is not


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enough to show that the jury may have agreed on some issues at some time; if that limited                          1'
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showing were to control, uncertainties would be invited"); see also Blueford v.Arkansas, 566

U.S. 599,606 (2012) (double jeopardy did not bar retrial after hung jury where foreperson                          I,

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reported unanimous vote on offense before deliberations had concluded but deadlock at

conclusion).

        The defendant argues that it is elevating form over substance to not accept that the

statements in the affidavits reflect an acquittal of the defendants on Counts 1 and 3. However,

the rendering of a verdict in open court is not a "ministerial act" as the defendant contends.
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Rather,it communicates the finality of the deliberations,and its pronouncement in open court

ensures its unanimity. See A Juvenile, 392 Mass. at 57 ("Public affirmation in open court

provides safeguards against mistakes."). Indeed, the authority upon which the defendant relies i

places particular importance upon the jury's pronouncement of its findings in open court. See

Blueford, 566 U.S.at 613 ( Sotomayor,J.,dissenting) (arguing that "the forewoman's
                                                                                                                       I
                                                                                                                       I,
announcement in open court that the jury was 'unanimous against' conviction on capital arid                            l!
first-degree murder ... was an acquittal for double jeopardy purposes").5 Thus, a "verdict in
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• substance" is a "final collective decision ...reached after full deliberation, consideration,and ' :
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compromise among the individual jurors ... And when that decision [is] announced in open

court, it [becomes] entitled to full double jeopardy protection" (emphasis added). Id. at 616,

citing Commonwealth v.Roth, 437 Mass. 777, 796 (2002) ("declining to give effect to 'the,                              I
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verdict received from the lips of the foreman in open court' would 'elevate form over

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5
  In written and oral argument, the defendant also relies on language from Taylor, 486 Mass. at 482. Taylor
discussed whether a judicial determination to terminate proceeding based on a procedural ground implicated double
jeopardy. The Supreme Judicial Court explained, "What constitutes an 'acquittal' is not to be controlled by tl1e form
of the judge's action," and that the determination does not depend on "checkmarks on a form." Id. This language in
Taylor does not inform the Court as to the circumstances here.

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substance "'). Where there was no verdict announced in open court here, retrial of the defendant:

• does not violate the principle of double jeopardy.                                                     ii
        II.     Manifest Necessity of Mistrial

        The defendant's motion to dismiss also argues that double jeopardy bars re-prosecution iI!:

because she did not consent to a mistrial and there was no manifest necessity to declare one.

This argument, too, is without merit.

        "A defendant's consent to a mistrial removes any double jeopardy bar to retrial"

(quotation and citation omitted). Pellegrine v. Commonwealth, 446 Mass. 1004, 1005 (2006).

Consent may be explicit or implicit. Explicit consent may occur by either moving for a mistrial : •

or agreeing to one. Commonwealth v. Edwards, 491 Mass. 1, 13 (2022). Consent to a mistrial

may be implied "where a defendant had the opportunity to object [to a declaration of a mistrial] I,i

and failed t_o do so." Pellegrine, 446 Mass. at 1005. See United States v. McIntosh, 380 F.3d
                                                                                                     I:

548, 554 (1st Cir. 2004) ("Where the defendant sits silently by and does not object to the
                                                                                                     i

declaration of a mistrial even though he has a fair opportunity to do so, a court may presume his! !

consent" [quotation and citation omitted]). See also United States v. You, 382 F.3d 958, 964,;,965

(9th Cir. 2004), cert. denied, 543 U.S. 1076 (2005) ("a court may infer consent only where.the       1 .
                                                                                                !
circumstances positively indicate a defendant's willingness to acquiesce in the mistrial order" :
                                                                                                !

 [quotations and citations omitted]); United States v. Goldstein, 479 F.2d 1061, 1067 (2d Cir.

1973) ("Consent [to a mistrial] need not be express, but may be implied from the totality ofthe ! i

circumstances attendant on a declaration of a mistrial.").

        As noted, the Court here declared a mistrial after the jury reported three times that they
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 were deadlocked. After the second time, the Court determined that the jury had engaged in due i •

 and thorough deliberations and gave the Tuey-Rodriguez instruction before sending the jury to


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deliberate further. Massachusetts General Laws c. 234A, § 68C, provides that if "a jury, aft:c�r
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due and thorough deliberation, returns to court without having agreed on a verdict, the couri: ma)1 I

state anew the evidence or any part of the evidence, explain to them anew the law applicable to

the case and send them out for further deliberation; but if they return a second time without:

having agreed on a verdict, they shall not be sent out again without their own consent, unless

they ask from the court some further explanation of the law" (emphasis added). See

Commonwealth v. Jenkins, 416 Mass. 736, 737 (1994}("If, after due and thorough deliberatlon, i •
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the jury twice advise the judge that they are unable to reach a verdict, the judge may not properl)/

send the jury out again without their consent, unless the jury ask for some further explanati�� of\

the law."). In their note to the Court, the jury specifically stated, "[t]o continue to deliberat,.�           I
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would be futile and only serve to force us to compromise these deeply held beliefs," making it j !
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clear that they would n�t consent to continuing their deliberations.
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        Attorney Yannetti twice argued for the Court to give the Tuey-Rodriguez instruction·-: th� :
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final step before the Court would declare a mistrial. See Jenkins, 416 Mass. at 737; see als�J:Ray/

v. Commonwealth, 463 Mass. 1, 4 (2012) (counsels' request for Tuey-Rodriquez instruction:
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"permit[ed] the inference that both parties were provided an opportunity to be heard on pos�ible l

alternatives to a mistrial"). Specifically, on Friday, June 28, 2024, after three days of                  !:
deliberations, when the jury sent their first note indicating that they had engaged in an

"exhaustive review of the evidence" and "ha[d] been unable to reach a unanimous verdict,",
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Attorney Yannetti argued that the jury had engaged in due and thorough deliberations, was at an!
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impasse, and should be given the Tuey-Rodriguez instruction. The following Monday, whe,? the):
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jury sent a second note after deliberating for approximately two hours, stating that "consensus :
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was unattainable," Attorney Yannetti again argued that due and thorough deliberations had


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occurred and described the jury as "hopelessly deadlocked." Defense counsel, in arguing twice ; i

that due and thorough deliberations had occurred and pushing for the instruction, presumably
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was aware of the legal implications if the jury returned deadlocked again. Nevertheless, in a
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remarkable turnaround, defense counsel now argues that the result they twice advocated for was i

"sudden" and "unexpected." See Defendant Karen Read's Motion to Dismiss at 8.

         Although the Court did not specifically ask defense counsel if they had any objection to I

the declaration of a mistrial, counsel had multiple opportunities to voice an objection if they in

fact had one. While waiting for the jury to enter the courtroom after the Court announced the

jury was again at an impasse on the afternoon of July 1, 2024, defense counsel could have c:tskedj

to be heard on the issue. During the subsequent discussion about scheduling a status heariug

right after the Court declared a mistrial, counsel had yet another opportunity to inform the Court,
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of its dissatisfaction. Lastly, counsel could have communicated to the Court any objection or        ,,

request to poll the jurors while the jury was still at the courthouse waiting in the deliberation

room after the declaration of the mistrial. Instead, defense counsel said nothing to the Court

about the mistrial and then proceeded to the courthouse steps where Attorney Jackson declared to

the media and onlookers that the "[Commonwealth] failed miserably and will continue to foil"

with its prosecution of the defendant. 6

         It strains credulity to believe that if defense counsel wanted to voice any objection to the

Court, it would not have been heard. Significantly, defense counsel were no shrinking vio!,�ts.
                                                                                                     !!
Neither Attorney Jackson nor Attorney Yannetti has ever needed this Court to inquire whether

counsel had an objection in order to be heard, and the Court has never denied counsel the

opportunity to be heard in open court or at sidebar. The Court reconvened many times at



6
    See https://www.youtube.com/watch?v=TrsJPBRVqDg
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counsel's request. Just days before the declaration of mistrial, defense counsel asked to add,:ress

the Court while the jury was deliberating to raise an objection about the verdict slip. Attorney
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Jackson was not shy in informing the Court that he wanted to "make [his] argument" and th',<�t thJ :
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Court's decision about the verdict slip was "not how it should be and it's over our strong               I.
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objection." 7 Attorney Jackson went so far as to suggest that "it was almost like the Court if           Ii
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directing a verdict of the subordinate charges" by not making changes he wanted. The Comt                ! '

finds it hard to believe that when counsel heard that the jury was at an impasse for a third time

and a mistrial was inevitable, at perhaps the most crucial point in the trial, counsel would sif

silently if they did not consent to a mistrial.

        As such, the Court does not credit Attorney Jackson's averment that he lacked an                 'I




opportunity to be heard. Defense counsel's silence despite ample opportunity to be heard i� :
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deemed consent. SeePellegrine, 446 Mass. at 1005 (when trial judge on own initiative declared/ i
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mistrial, defendant's silence was deemed consent where there was ample time to object desi)ite ! i
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not being directly asked by judge). Cf. Commonwealth v. Phetsaya, 40 Mass. App. Ct. 293',:298

(1996) (silence was not consent where judge's conduct was "so intimidating to defense couhsel .1
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. . as to foreclose any objection from ·defense counsel to the declaration of a mistrial").

        Even assuming arguendo that the defendant here did not consent to the mistrial, the.law

is clear that a retrial is permissible so long as there was manifest necessity for the mistrial. •       i.
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                                                                                                         I;
Taylor, 486 Mass. at 483. "The trial judge's belief that the jury is unable to reach a verdict:has ! !
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long been considered the classic basis for a proper mistrial" (quotation and citation omitted).
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                                                                                                         j:
Ray, 463 Mass. at 3. See Oregon, 456 U.S. at 672 (describing "hung jury" as "prototypical::              j!
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example" of manifest necessity). Because the Court here had no doubt based on the jury's rlotes\:
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7 See https://www.youtube.com/watch?v=BjPsNvnLXVO


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to the Court that it was unable to reach a unanimous verdict and the jury represented to the Couri I

that continued deliberations would be futile, there was manifest necessity for the mistrial bdsed

on the deadlock.

        As stated above, the foreperson, on behalf of the jury in this case,sent the Court thrc�

notes, none of which indicated agreement on any of the charges. In the first note, the jury wrote : ,
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that they had been "unable to reach a unanimous verdict." In the second note, they stated that 1 •

they were "deeply divided by fundamental differences in our opinions and state of mind" arid

that "consensus is unattainable." In their third and final note, after they had been given the ;fueyT i
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Rodriguez instruction,the jury stated that they continued to be "at an impasse." They described; '               '         I




themselves as "starkly divided" on their "perspectives on the evidence" explaining:                                        i


                  "Some members of the jury firmly believe that the evidence
                  surpasses the burden of proof establishing the elements of the                                       l'
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                  charges beyond a reasonable doubt. Conversely, others find the                                           I:
                  evidence fails to meet this standard and does not sufficiently
                  establish the necessary elements of the charges. The deep division
                  is not due to lack of effort or diligence, but rather a sincere
                  adherence to our individual principles and moral convictions. To
                  continue to deliberate would be futile and only serve to force us to
                  compromise these deeply held beliefs."                                                         I




The only reasonable interpretation of these notes, and specifically the final note, was that th� j�� i
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could not agree on any of the three charges and further deliberations would serve no purpos�.
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         For the defense to now claim that the notes were susceptible to different interpretations

such that the Court should have inquired further rings hollow, particularly where Attorney : :                         l:,     !
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Yannetti had twice argued that the jury had engaged in due and thorough deliberations and c:ould;
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not agree. See United States v. Keene, 287 F.3d 229,234 (1st Cir. 2002) (no abuse of discietionl
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8 Given the care that went into writing the notes and how articulately they expressed the jurors' disagreement, it

strikes this Court as odd that there was no inkling of an indication of agreement in the content of the notes or that if
the jurors were uncertain whether they could return a partial verdict, they would not have asked the Court.

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in declaring a mistrial given "the increasingly adamant manner in which the jurors announc,ed       l:
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that they were deadlocked"). Moreover, defense counsel's conduct immediately after the              l    i




declaration of the mistrial in no way suggests that they thought otherwise.

       The defendant contends that the Court failed to carefully consider that as an alternative tJ !

a mistrial, it could have "simply ask[ed] the jury to specify the charge(s) on which it was

deadlocked." Defendant Karen Read's Motion to Dismiss at 8. However, "[t]he question

whether a mistrial is appropriate in the circumstances of a given case is not answered by

application of a 'mechanical formula."' Ray, 463 Mass. at 4, quoting lllinois v. Somerville, 410,

U.S. 458, 462 (1973). See Commonwealth v. Bryant, 447 Mass. 494, 503 (2006) (decision:

whether to declare a mistrial is within the discretion of the trial judge). Rather, the Court

considers several facts such as the statements in a jury's note concerning their inability to reach'.
                                                                                                    I,
                                                                                                    I:
an agreement, the time spent in deliberations, and the length and complexity of the trial. Ray, : :

463 Mass. at 4-5. See Renico v. Lett, 559 U.S. 766, 775 (2010) ("we have never required a. tria( ·
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judge, before declaring a mistrial based on jury deadlock, to force the jury to deliberate for a / ,

minimum period of time, to question the jurors individually, to consult with (or obtain the

consent of) either the prosecutor or defense counsel, to issue a supplemental jury instruction, or 1
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to consider any other means of breaking the impasse").

        Where here, the jury had been deliberating five days, had returned to the Court three
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times stating they could not agree, had been given the Tuey-Rodrigez instruction and returned ; :
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hours later with a note plainly indicating that they could not agree as to the "elements of the

charges" and that "to continue to deliberate would be futile," asking the jury on which charges j

they were deadlocked was not necessary to determine that there was manifest necessity for a
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mistrial. See Fuentes v. Commonwealth, 448 Mass. 1017, 1018-1019 (2007) (where final note



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from the foreperson unequivocally stated that the jury were "unable to come to a unanimous.                             l i
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decision," judge was riot required to inquire whether there was any reasonable probability of
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unanimous verdicts or if the jury would consent to further deliberations); Ray, 463 Mass. at 6 n.5,'

Gudge did not err in declining to poll jury on whether further instructions or deliberation would

be likely to resolve the deadlock).

        Moreover, the defendant's argument ignores the fact that one of the three charges hai;l

lesser included offenses. Therefore, if upon questioning, the jury had indicated to the Court ,that:

they were not deadlocked on all the charges, the only option would have been for the Court to

send the jury back for further deliberations. See A Juvenile, 392 Mass. at 56 Gudge should not

inquire as to partial verdicts on lesser included offenses). Such action would be improperly'

coercive under the circumstances. It has been repeatedly recognized that deadlocked juries ·,µ-e

particularly susceptible to coercion. Roth, 437 Mass. at 791. "Where the jurors have twice
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                                                                                                                        I' 'I
reported themselves deadlocked, and have already heard the Tuey-Rodriquez charge, a judge's

inquiry concerning partial verdicts cannot avoid communicating to the jury the judge's desire to:

salvage something from the trial." Id. at 792 (emphasis in original). Where here the jury hi,i: d

before it one indictment which included lesser included offenses, had three times reported ,
                                                                                                                        I '


themselves deadlocked on separate charges, had already heard the Tuey-Rodriguez charge, and ! '

had sent a final note indicating that continued deliberations would only "serve to force [them] to;

compromise [their] deeply held beliefs," sending them to deliberate further would have been

improperly coercive. 9

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                                                                                                                       I.
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9 It is the Court's view that under these circumstances, even posing the question to the jury of whether they ac,�ally / i

 were deadlocked would have implied to the jurors that the Court wanted them to resume deliberations to reach a
  verdict. Given that Attorney Jackson had already expressed concern that the Court was "directing a verdict o::the
  subordinate charges," the Court was extremely cautious to not give any appearance of partiality. See United States
• v. Hotz, 620 F.2d 5, 7 (1st Cir. 1980) (noting that a court must avoid putting pressure on the jury).

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        The defendant's argument suggests that questioning or polling jurors who report a
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deadlock is best practice or at least commonly done by trial judges. However,the defendant has; :

not cited any cases saying as much and indeed,such an inquiry is not undertaken in the regular
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course. 10 For a judge to make such an inquiry on her own accord could impede upon the                                 i:

strategic decision of counsel to not make such a request. The defendant's argument is based on

hindsight. No one other than the jury knew that questioning the jurors as to their deadlock would

have yielded a favorable outcom,e for the defendant. It is likely for that reason, defense counsel , '

consented to this Court's declaration of a mistrial.

        III.     Post-Trial Inquiry

        The defendant alternatively requests that the Court allow counsel to conduct a post-trial

inquiry of the jurors to "substantiate the existence of an acquittal." Defendant Karen Read's                      : ;
                                                                                                                               i




Motion to Dismiss at 9. Such an inquiry is impermissible.
                                                                                                                   i!
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        The defendant's argument relies solely on Commonwealth v. McCalop, 485 Mass. 790

(2020). In McCalop, the Supreme Judicial Court held that the trial court should have allowed th;e;
                                                                                                                   ':
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defendant's motion for jurors' names and contact information based on the post-trial statement c:f

a deliberating juror regarding racist statements made during deliberations. Id. at 791. The
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                                                                                                                   i:
Supreme Judicial Court explained, "[t]he presence of even one juror who is not impartial

violated a defendant's right to trial by an impartial jury." Id. at 798,quoting Commonwealth v. j ,
                                                                                                                   i !
McCowen, 458 Mass. 461,494 (2010). Recognizing that "[r]acial bias in the jury system is 'a : i
                                                                                            :I
familiar and recurring evil that, if left unaddressed,would risk systemic injury to the
                                                                                                                   I       ,




                                                                                                                   i
10 The defendant relies on Commonwealth v. Foster, 411 Mass. 762 (1992) and Commonwealth v. LaFontaine, 32 i

Mass. App. Ct. 529 (1992) to argue that there would be nothing coercive about asking a jury reporting a deadlock
whether they had reached a unanimous verdict on any of the counts. Because neither the jury in Foster nor the jury
in LaFontaine reported being deadlock in its deliberations, and none of the offenses charged had lesser included
offenses, there was clearly no risk of coercion in the courts seeking partial verdicts on the separate indictmems in
those case. The circumstances here are markedly different.

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                                                                                                          I.



administration ofjustice,"' the McCalop court held that the defendant should have been given a • :

"fair opportunity to obtain an affidavit from that juror setting forth with some specificity who

among the jurors made statements reflecting racial bias ...and the statements that were rn:a de." •
                                                                                                                  I
                                                                                                          :



McCalop, 485 Mass. at 799, quoting Pena-Rodriguez v. Colorado, 580 U.S. 206,224 (2017).                   I       I




The defendant's argument here does not implicate racial bias or her right to receive an impartial:

trial. Thus, the reasoning the Court employed in McCalop does not extend to this case. See

Commonwealth v.DiBenedetto, 94 Mass. App. Ct. 682, 687 (2019) (declining to extend rac:ial

bias exception to inquiry ofjury unanimity because "infection of the criminal justice system witl,1
                                                                                                     :
racial or ethnic bias is a unique type of constitutional deprivation that requires a vigilant response

not warranted in the circumstances presented here").

       The defendant's request effectively seeks permission from the Court to inquire from

deliberating jurors that which is impermissible-information regarding the substance of the

jury's deliberations. "The secrecy of jury deliberations has served as a bedrock of our judicial ' •

system, and inquiry into the 'jury's deliberative processes ...would intrude improperly into the/. I
                                                                                                      : !


jury's function" (quotation and citation omitted). Commonwealth v.Moore, 474 Mass. 541, 54&:
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(2016). It is simply not the case, given the content of the jury's final note to the Court, that any i :
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                                                                                                      I:
                                                                                                      I       I

inquiry to jurors now could be limited solely to the results of the deliberative process and not              i




implicate the process itself. Any inquiry would necessarily require the Court to understand why.
                                                                                                      f       I


the jury's final note communicated a deadlock on the charges when post-trial, certain

deliberating jurors are purportedly stating that the jury was, in fact, unanimous on most of 1:he

charges. While the defendant contends that the conflict is reflective of the fact that the            I



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instructions given to the jury by the Court were confusing, determining whether this is true

would necessarily require inquiry into the back and forth among the jurors during deliberations.


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                                                                                                               ,i

See DiBenedetto, 94 Mass. App. Ct. at 686 ("The judge is precluded from inquiring into the:'.

internal decision making process of the jury as a whole or of the individual juror being

questioned . . . Accordingly, evidence that jurors misunderstood the instructions of the presi,ding!

judge . . . cannot be considered" [internal quotations and citations omitted]). Thus, such an :

inquiry is prohibited.                                                                                                  Ii

        The defense counsel has not cited one case suggesting the post-trial inquiry they no\;t
                                                                                                               :,

seek is appropriate or that it could change the outcome of the proceedings. 11 For the reasong,

already discussed, an acquittal of the defendant now on Indictments 1 and 3 based on
                                                                                             I    II
conclusions purportedly reached during the jury's deliberations is not possible. Therefore, there·             �   I
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is no reason for the Court to allow post-trial inquiry of the jurors. See A Juvenile, 392 Mass! at ; i
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                                                                                                                        ! I
57 (no error in denial of motion to subpoena the foreman where process would only serve to:

impeach jury's report to the judge in open court).

                                       CONCLUSION AND ORDER
                                                                                                I   i.
        This Court recognizes that the bar on retrials following acquittals is "[p]erhaps the n\ost ! ;
                                                                                                                        1    i
                                                                                                                            ''
fundamental rule in the history of double jeopardy jurisprudence." Taylor, 486 Mass. at 48 \,

quoting United States v. Martin Linen Supply Co., 430 U.S. 564,571 (1977). However, wn7, re

there was no acquittal on any of the charges in the defendant's first trial, there is no risk of ; :
                                                                                                                ,,

subjecting the defendant to double jeopardy by retrial on all the charges.

         Therefore, the Defendant's Motion to Dismiss is DENIED.




                                                                                                                ,,
Date: August 22, 2024
                                                                                          r Court                       I'

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11 Cases that defense counsel referred to at the hearing on this motion concerning post-trial inquiry ofjurors �)1ere   I'
juror bias or outside influence was at issue are readily distinguishable from the circumstances here.
                                                                                                                        II
                                                          21                                                            ;I'•
                                                                                                                        i'
                                                          47
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Fifth Amendment to U.S. Constitution

No person shall be held to answer for a capital, or otherwise infamous crime,
unless on a presentment or indictment of a grand jury, except in cases arising in the
land or naval forces, or in the militia, when in actual service in time of war or
public danger; nor shall any person be subject for the same offense to be twice put
in jeopardy of life or limb; nor shall be compelled in any criminal case to be a
witness against himself, nor be deprived of life, liberty, or property, without due
process of law; nor shall private property be taken for public use, without just
compensation.

Sixth Amendment to U.S. Constitution

In all criminal prosecutions, the accused shall enjoy the right to a speedy and
public trial, by an impartial jury of the state and district wherein the crime shall
have been committed, which district shall have been previously ascertained by law,
and to be informed of the nature and cause of the accusation; to be confronted with
the witnesses against him; to have compulsory process for obtaining witnesses in
his favor, and to have the assistance of counsel for his defense.

G.L. c. 234A, § 68C

If a jury, after due and thorough deliberation, returns to court without having
agreed on a verdict, the court may state anew the evidence or any part of the
evidence, explain to them anew the law applicable to the case and send them out
for further deliberation; but if they return a second time without having agreed on a
verdict, they shall not be sent out again without their own consent, unless they ask
from the court some further explanation of the law.

Mass. R. Crim. P. 27(b)

If there are two or more offenses or defendants tried together, the jury may, with
the consent of the judge at any time during its deliberations return or be required
by the judge to return a verdict or verdicts with respect to the defendants or charges
as to which a verdict has been reached; and thereafter the jury may in the discretion
of the judge resume deliberation. The judge may declare a mistrial as to any
charges upon which the jury cannot agree upon a verdict; provided, however, that
the judge may first require the jury to return verdicts on those charges upon which
the jury can agree and direct that such verdicts be received and recorded.


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Mass. Guide Evid. 606(b)

During an inquiry into the validity of a verdict, the court may ask the jurors
individually to affirm publicly that the verdict as recorded represents their
decision. However, a juror may not testify about any statement made or incident
that occurred during the jury’s deliberations, the effect of anything on that juror’s
or another juror’s vote, or any juror’s mental processes concerning a verdict. The
court may not receive a juror’s affidavit or evidence of a juror’s statement on these
matters.

Mass. Guide Evid. 606(c)(5)

A juror may testify about whether . . . a mistake was made in entering the verdict
on the verdict form.




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  CERTIFICATE OF COMPLIANCE PURSUANT TO MASS. R. APP. P.
                         16(k)

       I hereby certify that the above document complies with the rules of this
Court pertaining to the filing of briefs, including, but not limited to: Mass. Rule
16(a)(13) (addendum); Rule 16(e) (references to the record); Rule 18 (appendix to
the briefs); Rule 20 (form of briefs, appendices, and other papers); and Rule 21
(redaction).

       This brief complies with the length and typeface limitations in Rule 20(a)(2)
and 20(a)(4) because it is in the proportional font Times New Roman at size 14,
and contains 4,492 total words in the parts of the brief required by Rule 16(a)(5)-
(11) as counted using the word count feature of Microsoft Word.

Date: October 23, 2024


                                             /s/ Martin G. Weinberg
                                             Martin G. Weinberg
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                          CERTIFICATE OF SERVICE

Date: October 23, 2024

Supreme Judicial Court – Clerk’s Office
John Adams Courthouse
1 Pemberton Square, Suite 1400
Boston, MA 02108

Dear Sir/Madam:

     Herewith is the Reply Brief of Defendant-Appellant Karen Read in No. SJ-
13663.

                               COMMONWEALTH

                                          v.

                                   KAREN READ


      I certify that I have made service via email of this brief to Caleb Schillinger,
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